

Matter of Lamboy (2023 NY Slip Op 04346)





Matter of Lamboy


2023 NY Slip Op 04346


Decided on August 17, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 17, 2023

PM-179-23
[*1]In the Matter of William Ray Lamboy, an Attorney. (Attorney Registration No. 2948966.)

Calendar Date:August 7, 2023

Before:Clark, J.P., Aarons, Pritzker, Reynolds Fitzgerald and McShan, JJ.

William Ray Lamboy, Chesterfield, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
William Ray Lamboy was admitted to practice by this Court in 1999 and lists a business address in Trenton, New Jersey with the Office of Court Administration. Lamboy now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lamboy's application.
Upon reading Lamboy's affidavit sworn to June 19, 2023 and filed June 23, 2023, and upon reading the August 2, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Lamboy is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Clark, J.P., Aarons, Pritzker, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that William Ray Lamboy's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that William Ray Lamboy's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that William Ray Lamboy is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Lamboy is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that William Ray Lamboy shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








